                  IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                        Case No. 3:07CR119-FDW-DCK

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
                                          )                     ORDER
vs.
                                          )
ALFREDO SUSI,                             )
                                          )
                     Defendant.           )

        THIS MATTER IS BEFORE THE COURT on the “Application to Appear Pro Hac

Vice” (Document No. 60) filed by Attorney George A. Young on November 16, 2007; and the

“Suggestion of Inquiry Into George A. Young’s Application to Appear Pro Hac Vice”

(Document No. 63) filed by the Government on November 19, 2007. In light of the contents of

the Government’s filing, Mr. Young is directed to file a reply on or before Monday, November

26, 2007.

              SO ORDERED.



                                              Signed: November 19, 2007




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